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 CREIGHTON TAKATA, individually             )   C.A. No. 3:18-cv-2293
 and on behalf of all others similarly      )
 situated,                                  )   [PROPOSED] ORDER
                                            )   GRANTING THE KLAPPER,
                   Plaintiff,               )   RANA AND ESTOESTA
                                            )   GROUP’S MOTION FOR
             v.                             )   CONSOLIDATION,
                                            )   APPOINTMENT AS LEAD
 RIOT BLOCKCHAIN, INC. F/K/A,               )   PLAINTIFF AND APPROVAL
 BIOPTIX, INC., JOHN O’ROURKE,              )   OF SELECTION OF
 and JEFFREY G. MCGONEGAL,                  )   COUNSEL
                                            )
                   Defendants.              )

 JOSEPH J. KLAPPER, JR., individually
                                   )
 and on behalf of all others similarly
                                   ) C.A. No. 3:18-cv-8031
 situated,                         )
                                   )
                  Plaintiff,       )
                                   )
            v.                     )
                                   )
 RIOT BLOCKCHAIN, INC. F/K/A,      )
 BIOPTIX, INC., JOHN O’ROURKE, and )
 JEFFREY G. MCGONEGAL,             )
                                   )
                  Defendants.      )

      Having considered the papers filed in support of the Motion of class members

Joseph J. Klapper, Jr., Ashish Rana, and Sonia C. Estoesta (the “Klapper, Rana and

Estoesta Group” or “Group”) for Consolidation, Appointment as Lead Plaintiff and

Approval of Selection of Counsel pursuant to the Private Securities Litigation

Reform Act of 1995 (the “PSLRA”), 15 U.S.C. § 78u-4(a)(3)(B), and for good cause

shown, the Court hereby enters the following Order:
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             CONSOLIDATION OF THE RELATED ACTIONS

      1.    The above-captioned securities fraud class action (the “Takata Action”)

and the related action pending in this District entitled Klapper v. Riot Blockchain,

Inc., f/k/a Bioptix, Inc., et al., 3:18-cv-8031 (the “Klapper Action”) are hereby

consolidated for all purposes pursuant to Rule 42(a) of the Federal Rules of Civil

Procedure. Any actions that have been filed, or may be filed, which are related and

which may be considered herewith, are consolidated with the Takata Action under

Case No. 3:18-cv-2293 (the “Consolidated Action”).

      2.    A Master File is hereby established for the consolidated proceedings in

the Consolidated Action. The docket number for the Master File shall be Master File

No. 3:18-cv-07329. The original of this Order shall be filed by the Clerk in the

Master File. The Clerk shall mail a copy of this Order to counsel of record in each

of the above-captioned actions.

      3.    Every pleading filed in the Consolidated Action shall bear the following

caption:

 IN RE RIOT BLOCKCHAIN, INC. )                 Master File No. 3:18-cv-0732
 SECURITIES LITIGATION       )

      APPOINTMENT OF LEAD PLAINTIFF AND LEAD COUNSEL




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      4.       The Group has moved this Court to be appointed as Lead Plaintiff in

the Consolidated Action and to approve the counsel the Group’s members have

retained to be Lead Counsel.

      5.       Having considered the provisions of Section 27(a)(3)(B) of the PSLRA,

15 U.S.C. § 77z-1(a)(3)(B), the Court hereby determines that the Group is the most

adequate lead plaintiff and satisfies the requirements of the PSLRA. The Court

hereby appoints the Klapper, Rana and Estoesta Group as Lead Plaintiff to represent

the interests of the Class.

      6.       Pursuant to Section 21D(a)(3)(B)(v) of the PSLRA, 15 U.S.C. § 78u-

4(a)(3)(B)(v), the Group has selected and retained the law firm Levi & Korsinsky,

LLP to serve as Lead Counsel. The Court approves the Group’s selection of Lead

Counsel for the Consolidated Action.

      7.       Lead Counsel shall have the following responsibilities and duties, to be

carried out either personally or through counsel whom Lead Counsel shall designate:

               a.    to coordinate the briefing and argument of any and all motions;

               b.    to coordinate the conduct of any and all discovery proceedings;

               c.    to coordinate the examination of any and all witnesses in

depositions;

               d.    to coordinate the selection of counsel to act as spokesperson at

all pretrial conferences;


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              e.     to call meetings of the plaintiffs’ counsel as they deem necessary

and appropriate from time to time;

              f.     to coordinate all settlement negotiations with counsel for

Defendants;

              g.     to coordinate and direct the pretrial discovery proceedings and

the preparation for trial and the trial of this matter, and to delegate work

responsibilities to selected counsel as may be required;

              h.     to coordinate the preparation and filings of all pleadings; and

              i.     to supervise all other matters concerning the prosecution or

resolution of the claims asserted in the Consolidated Action.

      8.      No motion, discovery request, or other pretrial proceedings shall be

initiated or filed by any plaintiffs without the approval of Lead Counsel, so as to

prevent duplicative pleadings or discovery by plaintiffs. No settlement negotiations

shall be conducted without the approval of the Lead Counsel.

      9.      Service upon any plaintiff of all pleadings, motions, or other papers in

the Consolidated Action, except those specifically addressed to a plaintiff other than

Lead Plaintiff, shall be completed upon service of Lead Counsel.

      10.     Lead Counsel shall be the spokespersons for any and all plaintiffs in

matters concerning this litigation.

                   NEWLY FILED OR TRANSFERRED ACTIONS


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      11.    When a case that arises out of the subject matter of the Consolidated

Action is hereinafter filed in this Court or transferred from another Court, the Clerk

of this Court shall:

             a.        file a copy of this Order in the separate file for such action;

             b.        deliver a copy of this Order to the attorneys for the plaintiff(s) in

the newly filed or transferred case and to any new defendant(s) in the newly filed or

transferred case; and

             c.        make the appropriate entry on the docket for this Consolidated

Action.

      12.    Each new case that arises out of the subject matter of the Consolidated

Action that is filed in this Court or transferred to this Court shall be consolidated

with the Consolidated Action and this Order shall apply thereto, unless a party

objecting to this Order or any provision of this Order shall, within ten (10) days after

the date upon which a copy of this Order is served on counsel for such party, file an

application for relief from this Order or any provision herein and this Court deems

it appropriate to grant such application.

      13.    During the pendency of this litigation, or until further order of this

Court, the parties shall take reasonable steps to preserve all documents within their

possession, custody or control, including computer-generated and stored

information and materials such as computerized data and electronic mail, containing


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information that is relevant to or which may lead to the discovery of information

relevant to the subject matter of the pending litigation.




IT IS SO ORDERED



DATED: __________                _________________________________________
                                   HONORABLE FREDA L. WOLFSON
                                   UNITED STATES DISTRICT JUDGE




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